Case 1:20-cv-01228-CFC-JLH Document 11-1 Filed 11/23/20 Page 1 of 6 PageID #: 529




                            Exhibit 1
Case 1:20-cv-01228-CFC-JLH Document 11-1 Filed 11/23/20 Page 2 of 6 PageID #: 530

                                                                                                        USOO6784653B2

  (12) United States Patent                                                              (10) Patent No.:     US 6,784,653 B2
         Baumert                                                                         (45) Date of Patent:     Aug. 31, 2004

  (54) EYE MONITOR                                                                              FOREIGN PATENT DOCUMENTS

  (75) Inventor: Wolfgang Baumert, Schwieberdingen                                  EP               1282256 A1 * 2/2003       - - - - - - - - - - - - -   HO4L/1/20


                                                                                    GB             2 352 597 A       1/2001
                 (DE)
                                                                                                     OTHER PUBLICATIONS
  (73) Assignee: Alcatel, Paris (FR)
                                                                                    Buchali F, et al.: “Fast Eye Monitor for 10Gbit/s and its
  (*) Notice: Subject to any disclaimer, the term of this                           Application for Optical PMD Compensation”, OFC 2001,
                        patent is extended or adjusted under 35                     Optical Fiber Communication Conference and Exhibit Tech
                        U.S.C. 154(b) by 238 days.                                  nical Digest Postconference Edition, Mar. 17-22, 2001,
                                                                                    Anaheim, CA, USA.
  (21) Appl. No.: 10/192,549                                                        Ellermeyer T, et al.: “A 10Gb/s eye Opening Monitor IC for
                                                                                    Decision-guided Optimization of the Frequency Response
  (22) Filed:     Jul. 11, 2002                                                     of an Optical Receiver 2000 IEEE International Solid-State
  (65)                  Prior Publication Data                                      Circuits Conference. Digest Oftechnical Papers, Feb. 7-9,
                                                                                    2000, pp. 50-51, San Francisco.
          US 2003/0025491 A1 Feb. 6, 2003                                           H. Bulow, et al.: “Adaptation of an Electronic PMD Miti
  (30)          Foreign Application Priority Data
                                                                                    gator by Maximization of the Eye Opening", 26". European
                                                                                    Conference on Optical Communications, Sep. 3-7, 2000,
     Jan. 8, 2001      (EP) ............................................ O144O248   Munich, Germany, Proceedings, vol. 3, pp. 209-210.
  (51) Int. Cl." .............................................. G01R 23/167         * cited by examiner
  (52) U.S. Cl. ..................................... 324/76.28; 375/224            Primary Examiner-Charles H. Nolan, Jr.
  (58) Field of Search ........................ 324/76.28; 375/224                  (74) Attorney, Agent, or Firm Sughrue Mion, PLLC
  (56)                     References Cited                                         (57)                    ABSTRACT
                    U.S. PATENT DOCUMENTS                                           An eye monitor for evaluating a binary input Signal of a
                                                                                    transmission link and for recognizing the edges of an eye
         4,449.223 A    5/1984 Liskov et al.                                        diagram of the input Signal is described. A decision circuit
         4,475,210 A   10/1984 Couch                                                is provided which is directly connected to an integrator. The
         4,847.874 A * 7/1989 Kroeger et al. ............. 375/360                  input signal and a variable threshold are provided to the
         5,333,147 A    7/1994 Nohara et al.
         5,736,875 A    4/1998 Sakamoto et al.                                      decision circuit. An output Signal of the integrator is used to
         6,278.391 B1 * 8/2001 Walker ....................... 341/118               recognize the edges of the eye diagram.
         6,282,592 B1        8/2001 Aston et al. ................ 710/100
   2002/0060820 A1           5/2002 Buchall ...................... 359/109                         7 Claims, 2 Drawing Sheets
Case 1:20-cv-01228-CFC-JLH Document 11-1 Filed 11/23/20 Page 3 of 6 PageID #: 531


  U.S. Patent         Aug. 31, 2004    Sheet 1 of 2         US 6,784,653 B2

      Fig. 1
           10
             N
Case 1:20-cv-01228-CFC-JLH Document 11-1 Filed 11/23/20 Page 4 of 6 PageID #: 532


  U.S. Patent         Aug. 31, 2004    Sheet 2 of 2         US 6,784,653 B2

         Fig. 3
            30




     Ueyenew
Case 1:20-cv-01228-CFC-JLH Document 11-1 Filed 11/23/20 Page 5 of 6 PageID #: 533


                                                       US 6,784,653 B2
                                 1                                                                       2
                        EYE MONITOR                                         AS the output Signal Uincorr of the Second decision circuit
                                                                          12 probably becomes incorrect at the edges of the eye
                                                                          diagram, the output signal or the EXOR circuit 13 probably
             BACKGROUND OF THE INVENTION                                  becomes “1” at these edges. This has the consequence that
                                                                     5    the output signal Ueye of the integrator 14 increases at the
    The invention is based on a priority application EP 01440             edges of the eye diagram. Due to this change of the output
  248.1 which is hereby incorporated by reference.                        Signal Ueye, it is possible to recognize and characterize the
    The invention relates to an eye monitor for evaluating a              edges of the eye diagram and to calculate a So-called eye
  binary input Signal of a transmission link and for recogniz             opening.
  ing the edges of an eye diagram of the input signal. The                  It has to be added that the two decision circuits 11, 12 are
  invention also relates to a corresponding receiver and to a             provided with a clocking Signal C which corresponds to the
  corresponding method.                                                   bit rate of the input signal Uin, wherein the eye monitor 10
    Such an eye monitor is known from H. Buelow et al.,                   as described above and as disclosed in the cited prior art
  “Adaption of an electronic PMD mitigator by maximization                document works with a bit rate of up to 10 Gbit/s.
  of the eye opening, 26th European Conference on Optical            15      The described eye monitor of FIG. 1 has the disadvantage
                                                                          that the EXOR circuit 13 is notable to follow bit rates above
  Communication, Sep. 3-7, 2000, Munich, Germany,                         10 Gbit/s. As a consequence, the eye monitor 10 cannot be
  Proceedings, Volume 3, pages 209-210.                                   used for a bit rate of e.g. 40 Gbit/s.
              SUMMARY OF THE INVENTION                                      It is an object of the invention to provide an eye monitor
                                                                          which allows to recognize and characterize the edges of the
     FIG. 1 shows a Schematic block diagram of an eye                     eye diagram at bit rates which are greater than 10 Gbit/s, e.g.
  monitor 10 as described in the above prior art document. The            at a bit rate of 40 Gbit/s.
  eye monitor 10 may be comprised in a receiver of an optical                According to the invention, this object is Solved by an eye
  transmission System. The eye monitor 10 receives a binary               monitor for evaluating a binary input signal of a transmis
  input Signal Uin of a transmission link comprising noise.               Sion link and for recognizing the edges of an eye diagram of
  Due to the noise, the received bits of the input signal Uin        25
                                                                          the input signal, comprising a decision circuit which is
  may be incorrect which is usually described with the help of            directly connected to an integrator, wherein the input Signal
  a So-called eye diagram.                                                and a variable threshold are provided to the decision circuit
     FIG. 2 shows a Schematic eye diagram as described in the             and wherein an output Signal of the integrator is used to
  above prior art document. In FIG. 2, the input signal Uin is            recognize the edges of the eye diagram.
  depicted over the time t. In the upper part of FIG. 2, the input           The eye monitor of the invention does not comprise an
  Signal Uin is a binary “1” and in the lower part, the input             EXOR circuit. Any bit rate restriction due to the EXOR
  signal Uin is a binary “0”. FIG. 2 also shows a threshold               circuit is therefore overcome. As a result, the eye monitor of
  Uthr. If this threshold Uthr is about in the middle of the eye          the invention has the advantage that it can be used for bit
  diagram, then it may be used to decide whether the input           35
                                                                          rates which are greater than 10 Gbit/s, e.g. at a bit rate of 40
  signal Uin is a binary “1” or a binary “0”.                             Gbit/s. This advantage is reached without any further elec
     According to FIG. 1, the input Signal Uin is forwarded to            trical circuits or the like.
  a first decision circuit 11 which is provided with an optimum              In an advantageous embodiment of the invention, the
  threshold Uopt. This optimum threshold Uopt is located                  output Signal provides at least one Second value if the
  about in the middle of the eye diagram as described above.         40   variable threshold is in an upper and/or a lower part of the
  The first decision circuit 11 is therefore used to recover the          eye diagram. This Second value may then be used to
  received bits of the input signal Uin by deciding whether a             characterize the eye diagram of the input signal and in
  binary “1” or a binary “0” was received. These recovered                particular the edges of the eye diagram. In a further particu
  bits are provided by the first decision circuit 11 as an output         lar embodiment, an eye opening is evaluated based on the
  Signal Uout.                                                       45
                                                                          Second value.
     According to FIG. 1, the input Signal Uin is also for                   Further embodiments as well as further advantages of the
  warded to a second decision ciruit 12 which is provided with            invention are outlined in the following description of the
  a variable threshold Uvar. If the variable threshold Uvar is            following figures.
  about in the middle of the eye diagram, then the decision of               FIG. 3 shows a schematic block diagram of an embodi
  the second decision circuit 12 is probably correct. The            50   ment of an eye monitor according to the invention, and FIG.
  varibale threshold Uvar is permanently increased and                    4 shows a Schematic diagram of an output signal provided by
  decreased. If the variable threshold is at one of the edges of          the eye monitor of FIG. 3.
  the eye diagram, then the decisions of the Second decision                 FIG. 3 shows an eye monitor 30 according to the inven
  circuit 12 probably become incorrect. All decisions of the              tion. The eye monitor 30 is similar to the eye monitor 10 of
  Second decision circuit 12 are provided as an output Signal        55   FIG. 1. Therefore, corresponding circuits and Signals have
  Uincorr.                                                                the same reference numerals and abbreviations in both
     According to FIG. 1, the output signal Uout of the first             figures.
  decision circuit 11 and the output Signal Uincorr of the                   The difference between the eye monitor 30 of FIG.3 and
  second decision circuit 12 are provided to an EXOR circuit              the eye monitor 10 of FIG. 1 is the fact that the eye montor
  13. If both output signal Uout and Uincorr are identical, then     60   30 of FIG. 3 does not comprise the EXOR circuit 13 of the
  the output signal of the EXOR circuit 13 is “0”. However,               eye monitor 10 of FIG. 1. Instead, the second decision
  in any other case, i.e. if the two output signals Uout and              circuit 12 is directly connected to the integrator 14 So that
  Uincorr are not identical, the output signal of the EXOR                the output Signal Uincorr of the Second decision circuit 12 is
  circuit 13 is “1”.                                                      directly forwarded into the integrator 14.
     According to FIG. 1, this output signal of the EXOR             65      The integrator 14 then integrates this output signal Uin
  circuit 13 is integrated by an integrator 14 which provides an          corr and provides an output signal Ueyenew as shown in
  output signal Ueye.                                                     FIG. 4.
Case 1:20-cv-01228-CFC-JLH Document 11-1 Filed 11/23/20 Page 6 of 6 PageID #: 534


                                                       US 6,784,653 B2
                                3                                                                    4
    As described, the varibale threshold Uvar is permanently             Sense of a binary course with the consequence that the eye
  increased and decreased.                                               opening EO becomes greater.
    If the varibale threshold Uvar is about in the middle of the           What is claimed is:
  eye diagram, then the output Signal Uincorr is probably                   1. Eye monitor for evaluating a binary input Signal of a
  correct. Based on the assumption that the number of binary             transmission link and for recognizing the edges of an eye
  “1”-S and binary “0”-s of the succeeding bits of the input             diagram of the input signal, comprising a decision circuit
  Signal Uin is almost the Same, the integrator 14 provides an           which is directly connected to an integrator, wherein the
  output signal Ueyenew which as about Zero. This value is               input signal and a variable threshold are provided to the
  depicted with reference numeral 31 in FIG. 4.                          decision circuit and wherein an output Signal of the integra
     If the variable threshold value Uvar is e.g. in the upper           tor is used to recognize the edges of the eye diagram.
  part of the eye diagram, then it is probable that the Second              2. Eye monitor of claim 1 wherein the output Signal
  decision signal 12 decides a bit of the input Signal Uin to be         provides a first value if the variable threshold is about in the
  a binary “0” whereas it is actually a binary “1”. As a                 middle of the eye diagram.
  consequence, the number of bits which are decided to be                   3. Eye monitor of claim 1 wherein the output Signal
  “0”-S becomes greater than the number of decided “1”-s.           15   provides at least one second value if the variable threshold
  This results in an increase of the output Signal Ueyenew of            is in an upper and/or a lower part of the eye diagram.
  the integrator 14. This increase is depicted with reference               4. Eye monitor of claim 3 wherein the second value is
  numeral 32 in FIG. 4.                                                  used to characterize the eye diagram of the input Signal and
                                                                         in particular the edges of the eye diagram.
     If the variable threshold value Uvar is in the lower part of           5. Eye monitor of claim 4 wherein an eye opening is
  the eye diagram, then the situation changes into the opposite.         evaluated based on the Second value.
  This leads to a decrease of the output Signal Ueyenew which               6. Receiver of a transmission System comprising an eye
  is depicted with reference numeral 33 in FIG. 4.                       monitor for evaluating a binary input signal of a transmis
     According to FIG. 4, two threshold values Ut1 and Ut2               Sion link and for recognizing the edges of an eye diagram of
  are provided which are symmetrical to Zero. From the              25   the input signal, the eye monitor comprising a decision
  croSSpoints of the output signal Ueyenew with these thresh             circuit which is directly connected to an integrator, wherein
  old values Ut1, Ut2, an eye opening EO may be evaluated.               the input Signal and a variable threshold are provided to the
  This eye opening characterizes the eye diagram of the input            decision circuit and wherein an output Signal of the integra
  Signal Uin and in particular the edges of this eye diagram.            tor is used to recognize the edges of the eye diagram.
     If the quality of the transmission becomes worse, then the             7. Method of evaluating a binary input signal of a trans
  eye diagram of the input Signal Uin becomes Smaller in the             mission link and of recognizing the edges of an eye diagram
  sense of a smaller distance between the upper and the lower            of the input signal, wherein a decision circuit is directly
  edge of the eye diagram. This becomes apparent in the                  connected to an integrator, and comprising the Steps of
  output signal Ueyenew of the eye monitor 30 of FIG. 3 in               providing the input signal and a variable threshold to the
  that the output Signal Ueyenew becomes more flat and the          35   decision circuit and using an output signal of the integrator
  eye opening EO becomes Smaller.                                        to recognize the edges of the eye diagram.
     However, if the quality of the transmission is very good,
  then the output Signal Ueyenew becomes more sharp in the                                       k   k   k   k   k
